                          IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


MARY ANN BAUER                                  )
                                                )
v.                                              )       NO. 3:18-1293
                                                )       Richardson/Holmes
MICHAEL S. FITZHUGH, et al                      )



                                              ORDER
         Pursuant to Local Rule 16.01(h)(2), the District Judge is provided notice that on February 19,
2019, Defendants filed a motion to dismiss with supporting memorandum (Docket Nos. 15, 16).

Any response by Plaintiff shall be filed pursuant to Rule 12, Fed. R. Civ. P., and Local Rule 7.01(b).

An optional reply may be filed within seven (7) days of the filing of the response, and shall not

exceed five (5) pages.

         The Clerk of Court shall forward this motion and any responsive filings for the District

Judge’s consideration. All previously imposed deadlines remain in effect absent further order of the

Court.

         It is so ORDERED.




                                                BARBARA D. HOLMES
                                                United States Magistrate Judge




     Case 3:18-cv-01293 Document 17 Filed 02/21/19 Page 1 of 1 PageID #: 58
